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About Judge Craig Gargotta

EDUCATION

B.A., History, Texas A&M University - 1981

M.A., History, Texas A&M University - 1984

J.D., St. Mary’s School of Law - 1989

PROFESSIONAL ACTIVITIES

United States Bankruptcy Judge, October 1, 2007 - present

Assistant U.S. Attorney, San Antonio, Texas, 1990-2007

Editor-in-Chief, The Federal Lawyer, 2001-2008

Contributing Editor, American Bankruptcy Institute Journal, 1993-2007

Adjunct Professor of Legal Writing, St. Mary’s School of Law, 2002-2006

Contributing Editor, The San Antonio Lawyer, 1997-2001

President, San Antonio Chapter of the Federal Bar Association, 1996-1998

Law Clerk to United States Bankruptcy Judge Ronald B. King, Western District of Texas, 1989-
1990

LAW RELATED PUBLICATIONS AND HONORS

Speaker - Department of Justice Seminars regarding bankruptcy, legal writing and trial
advocacy, 1997-2007.

Speaker - bankruptcy seminars with the State Bar of Texas, University of Texas Law School,
American Bankruptcy Institute, Federal Bar Association, and San Antonio Bankruptcy Bar.

Judge Gargotta has written over 20 columns for the ABI Journal and published a law review
article in the American Bankruptcy Institute Law Review in 2003. In addition, he has published
roughly 25 columns or articles in other publications such as The San Antonio Lawyer, The
Federal Lawyer, In Bankruptcy (a DOJ publication), and the United States Attorneys Bulletin.
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